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                              IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division

          UNITED STATES OF AMERICA,

          v.                                                    Criminal Nos. 2:19-cr-47

          AGHEE WILLIAM SMITH, II,

                 Defendant.

                                              ORDER

          AND NOW, for good cause shown and finding that the interest of justice is served thereby,

  it is hereby ORDERED that the subpoenas previously issued for United States v. Alcorn, et al., be

  CONTINUED and ENFORCEABLE for the new trial date of February 1, 2022, at 10:00 a.m. at

  the Norfolk Federal Courthouse.

                                               IT IS SO ORDERED


                                               ________________________
                                               Hon. Raymond A. Jackson
                                               United States District Judge



  Date:
  Norfolk, Virginia




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  WE ASK FOR THIS:

  Respectfully submitted,

  AGHEE WILLIAM SMITH, II

  By:_________/s/______________
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  VSB No. 78800

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  VSB 83943

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